Case 08-14631-GMB               Doc 875-1 Filed 12/29/09 Entered 12/29/09 15:49:46                                  Desc
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                            UNITED STATES BANKRUPTCY COURT
                                                 District of New Jersey

 In re:                                                           Chapter 11
 SHAPES/ARCH HOLDINGS L.L.C., et al.,                             Case No. 08-14631
                          Reorganized Debtors.                    (Jointly Administered)
                                                                  Judge: Gloria M. Burns
 THE CLASS 10 LIQUIDATION TRUST, by and                           Adv. Pro. No. 09-
 through Steven D. Sass, as Trustee,
                      Plaintiff(s),

           v.

 MAGRETECH,
                          Defendant(s).

                       SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                             IN AN ADVERSARY PROCEEDING
YOU ARE HEREBY SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the
United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                Address of Clerk: James J. Waldron, Clerk
                                  50 Walnut Street, 3rd Floor, P.O. Box 1352
                                  Newark, NJ 07102-1352

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                Name and Address of Plaintiff’s Attorney:
                                  Ilana Volkov, Esq.
                                  Felice Yudkin, Esq.
                                  Cole, Schotz, Meisel, Forman & Leonard, P.A.
                                  A Professional Corporation
                                  Court Plaza North, 25 Main Street, P.O. Box 800
                                  Hackensack, NJ 07602-0800
                                  Donna H. Lieberman, Esq.
                                  Carrie E. Mitchell, Esq.
                                  Halperin Battaglia Raicht, LLP
                                  555 Madison Avenue, 9th Floor
                                  New York, NY 10022
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:

                Address           United States Bankruptcy Court                    Room #
                                  50 Walnut Street
                                  Newark, NJ 07102                                  Date and Time

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

                                                                          JAMES J. WALDRON
                                                                          Clerk of the Bankruptcy Court



________________________________________                                  BY:_____________________________________________
                  Date                                                                       Deputy Clerk


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                                                 CERTIFICATE OF SERVICE


         I, _____________________________________________, certify that I am, and at all times during the service
                                       (name)
of process was, not less than 18 years of age and not a party to the matter concerning which service of process was made. I
further certify that the service of this summons and a copy of the complaint was made _______________________ by:
                                                                                                    (date)

         Mail service: Regular, first class United States mail, postage fully pre-paid, addressed to:




         Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:




         Residence Service: By leaving the process with the following adult at:




         Publication: The defendant was served as follows: [Describe briefly]




         State Law: The defendant was served pursuant to the laws of the State of _____________________________, as
         follows: [Describe briefly]                                                           (name of state)




         Under penalty of perjury, I declare that the foregoing is true and correct.




                       Date                                                              Signature



                              Print Name



                              Business Address



                              City                             State                             Zip




45765/0004-6207385v1
